                            Case No. 1:20-cr-00305-DDD           Document 341-8       filed 12/05/23    USDC Colorado      pg
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                                        62 Invoices $2,469,863.00
                                        Qtr 3 2019 to Qtr 2 2020
       National Air Cargo                                                      Aero Maintenance Resources



 37 Deposits                           11 Deposits                         11 Deposits                                           3 Deposits
$1,263,663.00                          $449,605.00                         $482,500.00                                          $274,095.00
Qtr 3 2019 to                          Qtr 4 2019 &                     Qtr 3 & Qtr 4 2019                                        Qtr 2020
 Qtr 2 2020                             Qtr 1 2020




                                            Global Fuel Logistics                      Sand Hill LLC             Global Fuel Logistics Inc
             Michael Tew
                                               Michael A Tew                          Michael A Tew                   Michael Tew
             (NFCU5336)
                                                 (WF2064)                               (WF6934)                      (NFCU3094)


   Date         Amount        Count      Date        Amount        Count        Date      Amount      Count
                                                                                                                09/18/2019 $15,000.00
  12/03/19    $ 9,550.00    COUNT 25    10/17/19   $ 75,000.00   COUNT 20      09/10/19 $ 18,000.00 COUNT 17
                                                                                                               Wire Transfer (Count 47) 18
  12/12/19    $ 24,500.00   COUNT 26    10/25/19   $ 43,000.00   COUNT 21      09/18/19 $ 33,500.00 COUNT 18
  12/24/19    $ 15,200.00   COUNT 27    11/26/19   $ 43,250.00   COUNT 24
  02/12/20    $ 33,000.00   COUNT 28    02/20/20   $ 95,000.00   COUNT 29      09/26/19 $ 52,750.00 COUNT 19
  03/10/20    $ 35,000.00   COUNT 31    02/27/20   $ 40,000.00                                                   09/26/2019 $20,000.00
  03/20/20    $ 22,500.00   COUNT 32    03/03/20   $ 36,555.00   COUNT 30                                       Withdrawal (Count 48) 19
  04/01/20    $ 73,460.00   COUNT 33
  04/07/20    $ 36,925.00   COUNT 34
  05/06/20    $ 85,325.00   COUNT 37     02/20/2020 $20,000.00                 11/01/19 $ 49,750.00 COUNT 22
                                                                                                                11/01/2019 $20,611.01
                                        Withdrawal (Count 53) 29               11/08/19 $ 40,500.00 COUNT 23
                                                                                                                Transfer to Continental
                                         02/21/2020 $15,000.00                                                 Volkswagen (Count 52) 22
                                        Withdrawal (Count 54) 29
                                         02/27/2020 $20,000.00                 09/27/19 $ 60,000.00             09/27/2019 $20,000.00
                                        Withdrawal (Count 55) X                                                 Withdrawal (Count 49) X
                                         03/03/2020 $20,000.00                 10/01/19 $ 75,000.00             10/01/2019 $20,000.00
                                                                                                                Withdrawal (Count 50) X
                                                                                                                10/02/2019 $12,000.00
                                                                                                                Withdrawal (Count 51) X
